              Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 1 of 23



 1                                                               HONORABLE RICHARD A. JONES

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
     ORGANO GOLD INT’L, INC., a Washington
10   corporation,
11                       Plaintiff,                       NO. 2:16-CV-00487-RAJ
12            v.                                          DECLARATION OF LAWRENCE B.
                                                          STEINBERG IN OPPOSITION TO
13   LUIS VENTURA, an individual, LUZ                     MOTION FOR TEMPORARY
     ANGELA VENTURA, an individual; and                   RESTRAINING ORDER AND
14   L&A VENTURA MANAGEMENT, INC., a                      PRELIMINARY INJUNCTION
     Texas corporation,
15
                         Defendants.
16

17
              I, Lawrence B. Steinberg, do say and declare:
18
              1.     I am an attorney at law, duly admitted to practice before all courts of the State of
19
     California, and admitted pro hac vice in this court. I am a shareholder of the law firm of
20
     Buchalter Nemer, one of the attorneys herein for defendant L&A VENTURA
21
     MANAGEMENT, INC. (“defendant”). I have personal knowledge of the facts stated in this
22
     declaration and, if called as a witness, could and would testify competently thereto.
23
              2.     On April 5, 2016, I sent a letter to Kevin Bay, counsel for plaintiff ORGANO
24
     GOLD INT’L, INC. (“Organo”), regarding Organo’s failure to comply with the requirement
25
     contained in paragraph 21 of the “Independent Organo Gold Distributor Application and
26

     DECLARATION OF LAWRENCE B. STEINBERG IN OPPOSITION                      GARVEY SCHUBERT BARER
                                                                           A PARTNERSHIP OF PROFESSIONAL CORPORATIONS
     TO MOTION FOR TEMPORARY RESTRAINING ORDER AND                                  eighteenth floor
                                                                                  1191 second avenue
     PRELIMINARY INJUNCTION - 1                                            seattle, washington 98101-2939
     (CASE NO. NO. 2:16-CV-00487-RAJ)                                                206 464 3939


     GSB:7721894.3
              Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 2 of 23



 1   Agreement Terms and Conditions” (the “Application”) which required Organo, before it

 2   initiated litigation, to attempt to resolve this dispute by participating in nonbinding mediation.

 3   In my letter, I demanded that the lawsuit (which had just been removed to federal court) be

 4   dismissed until such time as the parties have engaged in mediation, and until the condition

 5   precedent contained in the Application had been satisfied. A true and correct copy of my

 6   April 5, 2016 letter is attached hereto as Exhibit 6.

 7            3.      On April 6, 2016, I spoke by telephone with Organo’s attorney, Kevin Bay.

 8   Among the topics discussed was my letter of the prior day and defendant’s demand that the

 9   parties participate in the nonbinding mediation required by the Application. During this call,

10   Mr. Bay advised me that he did not believe that the referenced contractual provision applied

11   because the lawsuit was for injunctive relief, and he further advised me that Organo’s current

12   position was that mediation would be a waste of time and Organo would not dismiss the

13   lawsuit. Mr. Bay did say he would think about this issue and discuss it with his client but, as of

14   the date of this declaration, I have not heard any further from Mr. Bay on this subject.

15            4.      After reviewing Organo’s moving papers in support of its motion for temporary

16   restraining order and preliminary injunction, I ascertained that one of the reasons why the

17   Motion should not be granted pertained to Organo’s contention that there were very few

18   companies which manufactured and sold ganoderma-infused coffee, and to determine who, in

19   fact, could be considered as competitors to Organo with respect to the sale of this category of

20   product. In order to see whether this was, in fact, the case, on April 12, 2016, I spent

21   approximately fifteen (15) minutes searching the Internet with the Google search engine, and

22   looking on Amazon and eBay. In the course of this brief search, I quickly identified nine

23   additional companies (besides Organo) that manufacture ganoderma-infused coffee and tea.

24   These companies are listed in the footnote.1 Additionally, on the website

25   1
      (1) Gano Excel USA, Inc., (2) Healthy Java Shop, (3) Avarle, (4) Ganoderma Coffee (ganodermacoffee.com), (5)
     Longreen Corp. (Reishi coffee), (6) Madre Labs, (7) Health King Enterprise and Balanceuticals Group, Inc.
26   (manufactures Health King Herbal Tea Series), (8) Nevada Coffee & Tea Co. (nevadacoffee.com), and (9)
     GanoLife (GanoLife Black Coffee, GanoLife Latte, GanoLife Mocha, etc.).

     DECLARATION OF LAWRENCE B. STEINBERG IN OPPOSITION                            GARVEY SCHUBERT BARER
                                                                                 A PARTNERSHIP OF PROFESSIONAL CORPORATIONS
     TO MOTION FOR TEMPORARY RESTRAINING ORDER AND                                        eighteenth floor
                                                                                        1191 second avenue
     PRELIMINARY INJUNCTION - 2                                                  seattle, washington 98101-2939
     (CASE NO. NO. 2:16-CV-00487-RAJ)                                                      206 464 3939


     GSB:7721894.3
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 3 of 23
              Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 4 of 23



 1                                    CERTIFICATE OF SERVICE

 2            I, Greta Nelson, certify under penalty of perjury of the laws of the State of Washington

 3   that on April 14, 2016, I electronically filed the foregoing document with the Clerk of the Court

 4   using the CM/ECF system which will send notification of such filing to all associated counsel

 5   of record.

 6            Kevin A. Bay                                   kbay@tousley.com
                                                             kstokes@tousley.com
 7
                                                             efile@tousley.com
 8
              James M. Bulthuis                              JBulthuis@Tousley.com
 9
              Michael S. Brunet                              mbrunet@gsblaw.com
10                                                           gnelson@gsblaw.com
11                                                           baboulhosn@gsblaw.com

12            Lawrence B. Steinberg                          lsteinberg@buchalter.com
                                                             kbrandon@buchalter.com
13                                                           docket@buchalter.com
14            Brandon Q. Tran                                btran@buchalter.com
15                                                           kmills@buchalter.com

16            SIGNED this 14th day of April, 2016, at Seattle, Washington.

17

18                                                 s/ Greta Nelson
                                                   Greta Nelson, Legal Assistant
19                                                 GARVEY SCHUBERT BARER
                                                   1191 Second Avenue, 18th Floor
20
                                                   Seattle, WA 98101-2939
21                                                 Phone: (206) 464-3939
                                                   Fax: (206) 464-0125
22                                                 Email: gnelson@gsblaw.com
23

24

25
26

     DECLARATION OF LAWRENCE B. STEINBERG IN OPPOSITION                     GARVEY SCHUBERT BARER
                                                                          A PARTNERSHIP OF PROFESSIONAL CORPORATIONS
     TO MOTION FOR TEMPORARY RESTRAINING ORDER AND                                 eighteenth floor
                                                                                 1191 second avenue
     PRELIMINARY INJUNCTION - 4                                           seattle, washington 98101-2939
     (CASE NO. NO. 2:16-CV-00487-RAJ)                                               206 464 3939


     GSB:7721894.3
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 5 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 6 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 7 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 8 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 9 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 10 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 11 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 12 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 13 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 14 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 15 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 16 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 17 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 18 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 19 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 20 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 21 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 22 of 23
Case 2:16-cv-00487-RAJ Document 18 Filed 04/14/16 Page 23 of 23
